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                       EXHIBIT H
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                            Local Political Letters


1.    Cicero, Karen
2.    Crowley, Sharon
3.    Hensley, Steve
4.    Hynes, Matthew
5.    Joyce, Jeremiah
6.    McGlynn, Dennis
7.    Mulvihill, Jeremiah
8.    Nieciak, Laura
9.    O'Connell, Donald
10.   O'Farrell, David
11.   Pannaralla, Keneth
12.   Ryan, Tom
13.   Solski, Jennifer
14.   Tyeptaner, Paul
15.   Ziegler, Barbara
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April 15, 2025



Honorable Judge Blakey



Dear Judge Blakey,

My name is Karen L. Cicero. I reside at                                               since 1974. I
ﬁrst met Mike Madigan in 1989.

I have known Mike for over 30 years and have been around him more than enough over those
years to say and vouch that he’s a wonderful man. He takes pride in helping people and also
takes pride in his neighborhood, as I’ve seen him patronize our neighborhood’s businesses. He’s
a respectful, courteous, honest and quiet man, who’s wonderfulness shines in his actions.
When you talk to Mike, you get a straightforward, truthful and helpful answer. There’s no game-
playing with him. He’s just an everyday family man that you would see outside with one of his
kids.

He’s a very compassionate person and that was shown to me ﬁrst hand, as he attended both the
wakes of my mother and my father. Mike also helped me further my education, as I went back
to school later in life. He helped me obtain a State Scholarship which aided with the ﬁnancial
burden of a further education. Funds were tight at that point in life as I was taking care of a sick
parent. If it wasn’t for Mike Madigan’s help, I wouldn’t have been able to have an education. I
am forever grateful for that education, as I was the ﬁrst on my father’s side to have one. On my
graduation day, Mike called me on the phone to say congratulations. I will never forget that
phone call. A man with such a busy schedule, calling me. What compassion and kindness.

Judge Blakey, please consider that Mike Madigan is just a good family man, neighborhood guy
who likes to help people when determining your sentence.

Respectfully,

Karen L. Cicero
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Dear Judge Blakey,

I wanted to take a moment to share something meaningful to me about a man who has been an
important part of my life—Michael Madigan.

I first met Mr. Madigan at St. Adrian's, and I consider him not only a family friend but also someone
who played a crucial role in my life during a particularly difficult time. After my father passed away
when I was young, I struggled deeply with loss, confusion, and pain. In the aftermath, alcohol
became something I leaned on to cope. I didn’t fully understand how much it was taking from me
until Mr. Madigan noticed what was happening.

He saw through my struggles and, without hesitation, reached out. He recognized the path I was
heading down and made the effort to talk to me, offering guidance that I so desperately needed.
What really struck me was how Mr. Madigan was able to relate to me on a personal level. He shared
with me how his own father had battled similar demons, and that connection gave me the strength
to face my own.

His words were not only comforting, they were the push I needed to make a change in my life. He
showed me the importance of confronting my issues head-on and finding healthier ways to deal
with my difficulties. I am deeply grateful for his honesty, his time, and the kindness he showed
when I needed it most. Mike Madigan is and was the Most Honest Truthful Man I have ever met in
my life.

Michael Madigan’s support didn’t just help me through a hard time, it helped me find a way to move
forward. He’s a person who, in his own quiet way made a lasting difference in my life.

For that, I will always be thankful for Mr. Madigan’s honesty and unwavering Truthfulness that made
me the best person I can be and, be a kind, helpful, responsible, honest, productive neighbor,
Cousin, friend.




Sharon Crowley
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Dear Judge Blakey:

My name is Dennis G. Mcglynn. Back in 1976 I was asked by Mike to help him in the neighborhood.
At the time, I accepted not knowing what to expect. What I soon learned was how much Mike did to
help people - everything from simple personal requests to making life better for the neighborhood.
Mike found time to coach me on how to handle requests and one of the most important things he
taught me was to be honest with people even when you cannot help them. Good news or bad
news, Mike was honest and he expected others to be honest with him. This lesson stuck with me
and I’ve tried to live it to this day.

During his tenure, Mike established much needed community programs for his constituents which
continue to this day. He developed a summer Olympics for all of the children in the neighborhood,
He helped secure a baseball field for the children which was appropriately named after him. He
worked to secure funds for noise abatement for homes affected by Midway Airport. A simple ride
through his District would demonstrate how well it was cared for due to his hard work and the team
he built to help people get the services they needed. Mike was re-elected time after time because
he took care of his District and did not lie to them or make excuses. He accomplished all of this
while also very capably performing his duties as the Speaker of the House representing the entire
state of Illinois. He is the hardest working man I know.

I hold Mike in the highest esteem because of what he did for so many people. He has spent his life
making his community better and also making others lives better, mine included. He has a gentle
demeanor and is a person that I greatly admire.

When I was doing neighborhood work I discovered a young family, the McGraths, who had their gas
shut off due to a divorce. The mother had no money and she and her children were cold. It only
took one phone call to Mike that night to have the service immediately restored. Another time I was
told about a widow, Ann Dedic, who was having to take her son out of school because of finances
and not having a job. Mike helped her find employment. These are just a couple of examples of the
numerous times Mike stepped in to save people in his neighborhood from disastrous situations.
On a personal note, he helped my family find an affordable extended care facility for my brother
who was suffering from an aggressive, terminal disease. He did these things with no fanfare or
expectations.

I am praying that you see what a great man and leader he is and that he deserves to spend his
retirement with his family.



Thank you,

Dennis G. McGlynn
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‭ onorable Justice Blakey‬
H
‭Northern District Federal Court‬
 ‭219 South Dearborn‬
  ‭Chicago, Illinois 60604‬


‭Dear Justice Blakey,‬

‭ y name is Laura Nieciak, I worked over thirty years as an Administrative‬
M
‭Assistant to a U.S. Congressman and a Chicago Alderman. I am a lifetime‬
 ‭Chicago resident. I attended St. Rita Grammar School, Queen of Peace‬
  ‭High School, Daley College and Olivet University.‬

‭ hile working in Government, I was impressed with Mr. Madigan’s work‬
W
‭ethic and dedication to the constituents in his District, working men and‬
 ‭women and his duties as Illinois House Speaker. There were times‬
  ‭Congressman William Lipinski would tell me he had received calls late on a‬
   ‭Saturday or Sunday from Mr. Madigan, and asked me to gather information‬
    ‭on issues the two were working on together. I also experienced Mr.‬
     ‭Madigan’s desire to secure funding for multiple Public Schools on the‬
      ‭Southwest side of Chicago. Many of these schools were in predominantly‬
       ‭Hispanic communities where school overcrowding was a growing problem.‬

‭ y experiences with Mr. Madigan were not extremely numerous, but each‬
M
‭and every one was one in which I was treated with ultimate respect. Mr.‬
 ‭Madigan's politeness always made me feel comfortable. I always felt he‬
  ‭had to endure many family sacrifices to keep up with his vast amount of‬
   ‭responsibilities.‬

‭ any times members of our staff shared our thoughts on Mr. Madigan’s‬
M
‭reputation for total integrity and kind words.‬
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        ‭ inally, I knew Mr. Madigan as a dedicated public servant, devoted‬
        F
        h‭ usband, father and grandfather. He was well respected by all and I‬
        c‭ onsidered it an Honor to have any interactions with him.‬
‭
    ‬
        ‭Sincerely,‬

        Laura Nieciak
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                           Donald O’Connell


Honorable Justice Blakey
Northern District Federal Court
219 South Dearborn Street
Chicago, Il. 60604

                                                             May 8, 2025

Dear Justice Blakey:

I write to you today about Mike Madigan but first a little about me. I am a
graduate of Quigley Preparatory Seminary South and Loyola University and
completed about two years of graduate work in Theology and Counseling at St.
Mary of the Lake Seminary in Mundelein and 24 semester hours in vocational
guidance and counseling at Northeastern Illinois University. My wife and I raised
our three daughters in Chicago and will celebrate our 50th wedding anniversary
next March.

I met Michael Madigan in about 1985 at a fundraiser being held by a friend of
mine, State Rep. Robert LeFlore who represented the far west side of Chicago
where I was the Executive Director of the Austin Business Council, the local
Chamber of Commerce and Industry. Prior to that I worked at the Austin Career
Education Center, an alternative High School for adults affiliated with St. Patrick’s
High School on the north side and run primarily by the Sisters of Mercy from Siena
High School (where I was a teacher before it closed). We opened the center a few
months after Siena closed.

From the little I knew of Madigan, I admired his strong respect among the
neighbors in our neighborhood of Clearing on Chicago’s Southwest Side. My wife
and I loved the neighborhood and so did our three daughters. When Madigan
asked if I would volunteer to help his organization, I gladly accepted. Over the
next thirty years or so I worked on neighborhood issues, held block parties and
got to know more of my neighbors.
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 I also got to know Mike as we discussed issues in the neighborhood such as the
need for a noise wall on the southeast corner of the airport since our two block
long streets were directly across from the startup of the runway which was
bordered only by a chain link fence which allowed noise, jet fumes, and snow in
the winter to be blasted down our streets. Or the need to close turns off of Cicero
Avenue onto westbound 64th Street by installing a cul-du-sac since there were
multiple accidents involving cars speeding through the neighborhood to avoid
traffic lights and blowing through stop signs. Or and the glaring need to revitalize
Cicero Avenue. These were just a few of the larger issues in our small corner of his
district over the years which he and the Aldermen made happen.

As I met with him I found that he is a great listener, gathering information to form
plans and opinions. He arrived at reasoned opinions and was honest in appraising
the possibility of implementing the ideas we presented. I am genuinely happy to
have experienced a relationship with Mike, an example of an elected official who
is straight with the people he serves.

Your Honor, I respectfully request that you consider Madigan's entire character
when determining his sentence. He has been a truly great leader accomplishing
many things for our community, the City of Chicago, and the State of Illinois. His
genuine straightforward direct and honest relationship with the people he served
is not seen very often in elected officials.

Thank you for your time and consideration.

Sincerely,



Donald O’Connell,
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